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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,                  Case No. 4:20-cv-00957-SDJ

 v.                                                  Hon. Sean D. Jordan

 Google LLC,
                                                     Special Master: David T. Moran
                        Defendants.


      UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL AND TO EXTEND
                TIME LIMIT UNDER LOCAL RULE CV-5(a)(7)(E)

        Plaintiff States respectfully move the Court for leave to file under seal Plaintiff States’

Response to Google LLC’s Motion for Summary Judgment on Plaintiffs’ DTPA Claims, Plaintiff

States’ Response to Defendant Google LLC’s [Corrected] “Statement of Undisputed Material Facts

in Support of Google’s Motions for Summary Judgment,” and Declaration of Kiran N. Bhat in

Support of Plaintiff States’ Responses to Google LLC’s Motions for Summary Judgment with all

attached exhibits. Plaintiff States will file these documents today. Defendant Google LLC

(“Google”) does not oppose this motion.

        Because Plaintiff States’ filings are voluminous and contain information subject to

Google’s claims of confidentiality pursuant to the Confidentiality Order, Dkt. 182, Plaintiff States

seek permission to file these papers under seal in the first instance and to extend the time limit

under Local Rule CV-5(a)(7)(E) for Google to submit redacted versions of these filings from seven

to 21 days.

        Google sought to file its Motions for Summary Judgment, Motion to Exclude, and

accompanying documents under seal in the first instance, and sought to extend the time limit for

filing redacted versions of these documents from seven to 21 days. Dkts. 665, 666, 670. The Court

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granted that relief, Dkt. 685, and should implement the same process with respect to Plaintiff

States’ responsive filings. See Carranza v. Shelton & Valadez, P.C., No. SA-22-CV-00025-ESC,

2023 WL 3260544, at *1 (W.D. Tex. May 4, 2023) (discussing court’s inherent power to manage

its docket).

        The Court should therefore grant Plaintiff States’ unopposed motion to seal the above

documents and to extend the limit for filing redacted versions under Local Rule CV-5(a)(7)(E)

from seven to 21 days.

 DATED: December 9, 2024                           Respectfully submitted,

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                            CERTIFICATION OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h) and that Google LLC does not oppose the foregoing sealing request.

                                                  /s/Kiran N. Bhat
                                                  Kiran N. Bhat




                               CERTIFICATE OF SERVICE

       I certify that on December 9, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                  /s/ Kiran N. Bhat
                                                  Kiran N. Bhat




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